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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


Aaron Rubenstein,

                      Plaintiff,                               16 Civ. 07283 (RWS)
              v.                                               Honorable Robert W. Sweet
LIVE NATION ENTERTAINMENT, INC.,

                      Nominal Defendant,                       NOTICE OF MOTION

                      and
                                                               Oral Argument Date:
LIBERTY MEDIA CORP.,                                           February 23, 2017 at 12:00 p.m.

                      Defendant.


       DATE FOR ORAL ARGUMENT: Thursday, February 23, 2017 at 12:00 p.m.

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in

Support of Nominal Defendant Live Nation Entertainment, Inc.’s (“Live Nation”) Motion to

Dismiss the Complaint, and all other papers and proceedings herein, the undersigned will move

this Court on behalf of Live Nation in Courtroom 18C of the United States Courthouse for the

Southern District of New York, 500 Pearl Street, New York, New York 10007, on such date as

the Court may set, for an order dismissing Plaintiff’s Complaint as to Live Nation should the

Court grant Defendant Liberty Media Corp.’s Motion to Dismiss, filed by Defendant Liberty

Media Corp. in the above-captioned matter on December 2, 2016.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order entered in this action

on November 10, 2016, Plaintiff’s opposition papers shall be submitted on or before January 23,

2017, and Defendants’ reply papers shall be submitted on or before February 6, 2017.
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Dated: December 2, 2016
       Menlo Park, California
                                          LATHAM & WATKINS LLP


                                          /s/ Robert A. Koenig          .
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                                          Attorneys for Nominal Defendant Live
                                          Nation Entertainment, Inc.




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